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                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,
                                                                                      Case No. l6CR1231-JM

                                                    Plaintiff,
                      vs.
                                                                                      JUDGMENT OF DISMISSAL
OLIVIA F AITH AVILA-MINJAREZ (2)



                                               Defendant.

IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      Remand U.S. Court of Appeals, Previously Imposed Sentence is Hereby Set Aside and
      Vacated, and

      an indictment has been filed in another case against the defendant and the Court has
      granted the motion of the Government for dismissal of this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

, / ' the Court has granted the motion of the Government for dismissal; or

      the Court has granted the motion of the defendant for a judgment of acquittal; or
      a jury has been waived, and the Court has found the defendant not guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

/'    of the offense as charged in the Information:

      8: 1324(a)(I)(A)(ii). (v)(II) and (a)(I)(B)(i) - Transportation of Certain Aliens for
      Financial Gain and Aiding and Abetting

            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.

 Dated: 612112016
                                          FILED
                                            JUN 21 2016                   Hon Mitchell D. em bin
                                                                          Unit d States Magistrate Judge
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                            SOUTHERN DISTRI T OF CALIFORNIA
                            BY                                       _ •.....?EPUTY
